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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                     Exhibit D
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                                                                         Page 1

 1                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
 2                               COLUMBIA DIVISION
 3
          THE SOUTH CAROLINA             )
 4        STATE CONFERENCE OF            )
          THE NAACP, et al.,             )
 5                                       )
                                         )
 6                      Plaintiffs,      )       Case No. 3:21-CV-03302-MGL-
                                         )       TJH-RMG
 7        vs.                            )
                                         )
 8        THOMAS C.                      )
          ALEXANDER, et al.,             )
 9                                       )
                                         )
10                      Defendants.      )
                                         )
11
12
13
14                        Videotaped Remote Deposition of
15                       SENATOR GEORGE EARLE CAMPSEN, III
16                             (Taken by Plaintiffs)
17                         Isle of Palms, South Carolina
18                            Friday, August 5, 2022
19
20
21
22
23
24                           Reported in Stenotype by
                           Lauren M. McIntee, RPR, CRR
25              Transcript produced by computer-aided transcription

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                                                                      Page 134

 1                  A.   No.    They're the ones who rendered those

 2        opinions.

 3                  Q.   Based on your work as a subcommittee member,

 4        did you have any understanding of what test might be

 5        needed to assess concerns about racial gerrymandering?

 6                  A.   Yes, I did.      Yeah.

 7                  Q.   And what's your understanding --

 8                  A.   I wasn't relying on my -- I wasn't relying on

 9        my legal opinion because this is not an area of the law

10        that I deal with regularly, so I relied upon them.

11                  Q.   I feel like I could -- I can close out maybe;

12        maybe this question closes out this.                It would be fair

13        to say that for any compliance with federal law or the

14        US Constitution, that would have been a question for

15        Mr. Gore or Mr. Terreni?

16                  A.   Yes, ultimately.         I mean, you could have a

17        contingent opinion or view or something, but ultimately

18        you -- you go to them and say, what do you -- what do

19        you think?      What do we need -- should we do this?

20        Should we not do it?         So just a -- it's an ongoing

21        process.

22                  Q.   I now want to move on to Roman Numeral

23        Number 3 entitled Additional Considerations.                 Do you see

24        that?

25                  A.   Yes.

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